Case 1:22-cv-01230-STA-jay Document 73-7 Filed 05/19/23 Page 1 of 2   PageID 1403




          EXHIBIT 6
Case 1:22-cv-01230-STA-jay Document 73-7 Filed 05/19/23 Page 2 of 2                             PageID 1404



 >»> 295 Jim Adams Drive
 »» P. 0. Box 108
 »» Paris, TN 38242
 >»> Phone 270-970-9453
 >»> Email jmaupin@consoljdatedbu ildings.com
 >>>>
 >>>>
 »»» On Mar 24, 2022, at 4:38 PM, Jim Kowalzyk <kkwestemhauljng@yahoo com> wrote:
 >>>>>
 >>>>> Hi Jesse,
 >»» Yes sir I would be happy to lease to you. I'm glad you do good there.
 »»> Would you like me to change the lease to your name.              Jim
 >>>>>
 »>>> Sent from my iPhone
 >>>>>
 »>»» On Mar 24, 2022, at 1:57 PM, Jesse Maupin <westkentuckyqd ma@gma it.com> wrote:
 >>>>>>
 »»>> Good afternoon Mr. Jim I hope all is well your way. I know the lease is up May 31st and Weather
 King isn't really wanting to lease lots anymore but I do good sales there and you and I go way back.
 Would it be possible for me to lease the property so I can keep my sales lot open and continue to sell
 there??
 >>>>>>
 >>>>>> Jesse Maupin
 »»» Weather King Portable Buildings
 >»>>> 295 Jim Adams Drive
 >>»>> P. 0. Box 108
 >»>>> Paris, TN 38242
 >»»> Phone 270-970-9453
 »»» Email jmaupin@consolidatedbuildings com
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